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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


CASEY GRITTER,

          Plaintiff,                     Case No. 1:18−cv−01209−JTN−ESC

   v.                                    Hon. Janet T. Neff

COMSTOCK PARK PUBLIC SCHOOLS,
et al.,

          Defendants.
                                    /



                                    ORDER
      This matter is before the Court on Plaintiff's Motion to Appoint Next
Friend (ECF No. 2). The Court having reviewed the Motion: IT IS HEREBY
ORDERED that the Motion to Appoint Next Friend (ECF No. 2) is GRANTED;
Casey Gritter shall be appointed as next friend for Joseph Gritter, a minor.

        IT IS SO ORDERED.


Dated: October 31, 2018                           /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge
